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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                   (Northern Division)


ANNE ARUNDEL COUNTY, MARYLAND,

                        Plaintiff,
        v.
                                                           Case No. 1:21-cv-01323-SAG
BP P.L.C., et al.,

                        Defendants.



                                     NOTICE OF APPEARANCE

TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:

        Please enter my appearance as counsel in this case for Defendant American Petroleum

Institute. I certify that I am admitted to practice in this Court.

Dated: September 14, 2022                               Respectfully submitted,

                                                        /s/ Brian D. Schmalzbach
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                                                        Counsel for Defendant
                                                        American Petroleum Institute
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                               CERTIFICATE OF SERVICE

       I hereby certify that on September 14, 2022, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will send a notification of such filing to all

counsel of record.


                                                   /s/ Brian D. Schmalzbach
                                                   Brian D. Schmalzbach

                                                   Counsel for Defendant
                                                   American Petroleum Institute




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